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                    Exhibit B
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    SECURITIES AND EXCHANGE
    COMMISSION,                                                   AMENDED COMPLAINT

                       Plaintiff,                                 22 Civ. 3402-JPO
                -against-                                         ECF CASE
                                                                  JURY TRIAL DEMANDED
    SUNG KOOK (BILL) HWANG, PATRICK
    HALLIGAN, WILLIAM TOMITA, SCOTT
    BECKER, and ARCHEGOS CAPITAL
    MANAGEMENT, LP,

                       Defendants.



        Plaintiff Securities and Exchange Commission (“SEC”), for its Amended Complaint

against Defendants Sung Kook (Bill) Hwang (“Hwang”), Patrick Halligan (“Halligan”), William

Tomita (“Tomita”), Scott Becker (“Becker”), and Archegos Capital Management, LP

(“Archegos”) (collectively, “Defendants”),1 alleges as follows:

                                          SUMMARY

        1.     This case involves a fraudulent scheme by Defendants – two of whom have pled

guilty to crimes concerning the facts alleged in this Amended Complaint – that included

interlocking deceptive acts and misconduct, through false and misleading statements to security-

based swap (“SBS”) counterparties and prime brokers (collectively, “Counterparties”) and

manipulative trading designed to artificially move the market, which, in tandem, allowed

Archegos to increase its assets under management from around $4 billion to over $36 billion in




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        Defendants Tomita and Becker have consented to the entry of partial judgments imposing
certain injunctive relief against them and leaving certain potential additional relief for further
resolution. (DE 26, 29.)
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just under six months. Indeed, one Defendant, Archegos’s head trader William Tomita, stated

that he “agreed with [Hwang] and others to carry out the business of Archegos through a pattern

of manipulating the prices of securities and deceiving counterparties.”

        2.      From March 2020 until its collapse in March 2021, Archegos, at Hwang’s

direction, underwent a period of rapid and exponential growth, achieved largely through the

entry into SBSs with about a dozen Counterparties, which subjected Archegos to significant

exposure to rising and falling share prices of the issuers referenced in its SBSs. Archegos’s

growth thus presented the firm with a predicament. To continue growing, and otherwise

maintain the gains it had achieved through its ramp-up of exposures, Archegos needed to ensure

that (1) the value of those exposures would continue to appreciate, and (2) its Counterparties

would continue to extend credit margin and trading capacity necessary for Archegos to enter into

even more SBSs.

        3.      To attempt to overcome this predicament, Archegos chose not to rely on ordinary

market forces. Instead, from at least September 2020 through March 2021 (“Relevant Period”),

Archegos engaged in a brazen scheme to manipulate the market for the securities of the issuers

that represented Archegos’s top 10 holdings (“Top 10 Holdings”), both through trading of the

issuers’ securities and entry into SBSs referencing those issuers, which functionally equaled

trading the issuers’ securities.

        4.      Archegos, through Hwang and Tomita, effected this scheme by dominating the

market for its Top 10 Holdings. In addition, as it established dominant market share of the Top

10 Holdings, Archegos used tactics such as “setting the tone” (as Hwang put it) by engaging in

large pre-market trading; bidding up prices by entering incrementally higher limit orders

throughout the trading day; trading at the close or “marking the close” by engaging in large



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trading at the end of the trading day; and by other non-economic trading, all with the goal of

artificially inflating the share prices of its Top 10 Holdings.

       5.      The margin and capacity extended by Archegos’s Counterparties served as the

fuel for its manipulative trading. However, Archegos could not rely on its Counterparties to

provide it with ever greater margin and capacity unabated, particularly given Archegos’s

propensity to stretch its available trading capacity with Counterparties to its limits. Indeed, as of

the beginning of the Relevant Period, certain of Archegos’s Counterparties already had begun

asking Archegos questions to evaluate its risk profile, which, had Archegos answered them

truthfully, would have led Archegos to exhaust the finite trading resource that its Counterparties

provided. To avoid this result – despite varying degrees and quality of risk management and

proactive questioning of Archegos by its Counterparties – Archegos, through Hwang, Halligan,

Tomita, and Becker, deliberately misled many of Archegos’s Counterparties during the Relevant

Period in order to obtain increased trading capacity to further its manipulative trading and ever-

increasing ramp-up of exposures.

       6.      As part of the scheme, Archegos knowingly provided these Counterparties with

false assurances concerning its portfolio composition, its concentrated exposure, and its liquidity

profile. As Archegos intended, these deceptions fraudulently convinced its Counterparties that

Archegos’s overall positioning was less concentrated and more liquid than it actually was. These

deceptions induced Archegos’s Counterparties to continue to transact with it and extend leverage

beyond what the Counterparties’ risk tolerance would have otherwise permitted had they known

the truth – thus allowing Archegos to continue to grow its positions and, thereby, drive up and

sustain the stock prices of the Top 10 Holdings.




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        7.         Eventually, the weight of Defendants’ fraudulent and manipulative scheme was

too much for Archegos to bear, and over the course of less than a week in late March 2021, the

house of cards collapsed. Price declines in some of Archegos’s Top 10 Holdings triggered

significant margin calls that Archegos was unable to meet. In turn, without its trading activity to

artificially inflate the prices of the Top 10 Holdings, those stock prices collapsed. And,

Archegos’s subsequent default resulted in billions of dollars in credit losses among its

Counterparties and significant losses to the market participants who invested in the stocks at

inflated prices.

                                            VIOLATIONS

        8.         By virtue of the foregoing conduct and as alleged further herein:

        a.         Defendants Hwang, Tomita, and Archegos violated Section 17(a) of the Securities

Act of 1933 (“Securities Act”) [15 U.S.C. § 77q(a)], Section 10(b) of the Securities Exchange

Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R.

§ 240.10b-5], and Section 9(a)(2) of the Exchange Act [15 U.S.C. § 78i(a)(2)];

        b.         Defendants Halligan and Becker violated Sections 17(a)(1) and (3) of the

Securities Act and Section 10(b) of the Exchange Act and Rule 10b-5 thereunder;

        c.         Defendant Halligan aided and abetted Defendant Becker’s violations of Sections

17(a)(1) and (3) of the Securities Act and Section 10(b) of the Exchange Act and Rule 10b-5

thereunder, in violation of Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)] and Section

20(e) of the Exchange Act [15 U.S.C. § 78t(e)];

        d.         Defendant Hwang, as a control person of Archegos and Tomita under Section

20(a) of the Exchange Act [15 U.S.C. § 78t(a)], is liable for violations by Archegos and Tomita

of Section 10(b) of the Exchange Act and Rule 10b-5 thereunder.



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       9.      Unless Defendants are restrained and enjoined, they will engage in the acts,

practices, transactions, and courses of business set forth in this Amended Complaint or in acts,

practices, transactions, and courses of business of similar type and object.

               NATURE OF THE PROCEEDINGS AND RELIEF SOUGHT

       10.     The SEC brings this action pursuant to the authority conferred upon it by Section

20(b) of the Securities Act [15 U.S.C. § 77t(b)] and Section 21(d) of the Exchange Act [15

U.S.C. § 78u(d)].

       11.     The SEC seeks a final judgment: (a) permanently enjoining Defendants from

violating the federal securities laws and rules this Amended Complaint alleges they have

violated; (b) ordering Defendants to disgorge all ill-gotten gains they received as a result of the

violations alleged herein and to pay prejudgment interest thereon; (c) ordering Defendants to pay

civil money penalties pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and

Section 21(d) of the Exchange Act [15 U.S.C. § 78u(d)]; (d) permanently prohibiting Defendants

Hwang, Halligan, Tomita, and Becker from serving as officers or directors of any company that

has a class of securities registered under Section 12 of the Exchange Act [15 U.S.C. § 78l] or that

is required to file reports under Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)], pursuant

to Section 20(e) of the Securities Act [15 U.S.C. § 77t(e)] and Section 21(d)(2) of the Exchange

Act [15 U.S.C. § 78u(d)(2)]; and (e) ordering any other and further relief the Court may deem

appropriate or necessary.

                                 JURISDICTION AND VENUE

       12.     This Court has jurisdiction over this action pursuant to Section 22(a) of the

Securities Act [15 U.S.C. § 77v(a)] and Section 27 of the Exchange Act [15 U.S.C. § 78aa].




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        13.     Defendants have, directly and indirectly, made use of the means or

instrumentalities of interstate commerce or of the mails or of any facility of any national

securities exchange, and/or use of any means or instruments of transportation or communication

in interstate commerce in connection with the transactions, acts, practices, and courses of

business alleged herein.

        14.     Venue lies in this District under Section 22(a) of the Securities Act [15 U.S.C.

§ 77v(a)] and Section 27 of the Exchange Act [15 U.S.C. § 78aa]. Certain of the acts, practices,

transactions, and courses of business alleged herein occurred in this District, where Archegos had

its offices during the Relevant Period.

                                           DEFENDANTS

        15.     Archegos Capital Management, LP was a family office headquartered in New

York, NY exempt from registration as an investment adviser under Rule 202(a)(11)(G)-1 under

the Investment Advisers Act of 1940. As of March 2021, Archegos managed over $36 billion in

invested capital. In late March 2021, Archegos defaulted on a number of significant margin

calls, causing the family office’s closure shortly thereafter, and it is not currently active.

        16.     Sung Kook (Bill) Hwang, age 57, is a resident of Tenafly, NJ. Hwang was the

founder, 99% owner (Hwang’s wife owned the remaining 1%), and manager of Archegos, and

was solely responsible for all investment decisions made by Archegos or on its behalf.

        17.     Patrick Halligan, age 45, is a resident of Syosset, NY. Halligan served as the

Chief Financial Officer of Archegos.

        18.     William Tomita, age 38, is a resident of Palm Beach, FL. Tomita served as the

head trader of Archegos. Tomita reported to Hwang and executed Hwang’s trading instructions;




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Tomita had no investment discretion himself. Tomita pled guilty pursuant to an information to

criminal law violations concerning the facts alleged in this Amended Complaint.

       19.    Scott Becker, age 38, is a resident of Port Jervis, NY. Becker served as the

Director of Risk Management at Archegos. Becker pled guilty pursuant to an information to

criminal law violations concerning the facts alleged in this Amended Complaint.

                                            FACTS

  I.   Background

       20.    Archegos was a family office that invested the personal funds of Hwang, the

founder of Tiger Asia Management, LLC and Tiger Asia Partners, LLC (collectively, “Tiger

Asia”), formerly investment managers to two unregistered hedge funds.

       21.    In 2012, Hwang, on behalf of Tiger Asia, pled guilty to criminal insider trading

charges, and Hwang and Tiger Asia settled civil charges brought by the SEC for insider trading

and attempted stock manipulation.

       22.    The guilty plea and settlement resulted in the closure of the hedge funds. Hwang

returned investor capital and converted Tiger Asia into Archegos by approximately 2013.

       23.    At all times, Hwang made all investment decisions on Archegos’s behalf.

       24.    Tomita, Hwang’s head trader, executed Hwang’s instructions, but had no

investment discretion, and was Archegos’s primary point of contact with trading desks at

Archegos’s Counterparties.

       25.    Halligan and Becker managed back office functions and operations, and over time

were Archegos’s primary points of contact for the credit and risk review functions at Archegos’s

Counterparties.




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        26.    Halligan, Tomita, and Becker each elected to have a substantial portion of their

compensation deferred, with the ultimate payouts tied to the performance of Archegos. At the

end of 2020, Halligan, Becker, and Tomita received bonuses based on their performance for that

year.

 II.    Archegos’s Investment Strategy and Counterparty Relationships

        27.    Generally, over time, Archegos pursued a long/short equity strategy, generally

taking long exposures in single name issuers, and hedging those long exposures largely through

short exposures to exchange-traded funds and custom baskets, with some limited short exposures

to single name issuers, as well.

        28.    Its long positions tended to be both highly leveraged and highly concentrated.

Archegos traded on margin extended by its Counterparties, maintaining leverage ratios of

between 400% and 700%, and sometimes as high as 1000% (meaning if it invested $100 in

capital, it had $1000 in exposure). It took long positions in only about 100 issuers, with typically

between a third and half of its overall gross exposure concentrated in just its ten largest positions.

        29.    The vast majority of Archegos’s long exposure was synthetic, a deliberate

strategy Hwang implemented to limit the visibility of market participants, including

Counterparties, into the extent of Archegos’s aggregate holdings.

        30.    To avoid reporting thresholds under Section 13(d) of the Exchange Act, when

Archegos approached stock holdings representing 5% of the shares outstanding of any particular

issuer, it would generally shift from purchasing cash equity positions in that issuer to purchasing

synthetic exposure to the issuer through SBSs.




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       31.     Becker circulated to Hwang, Halligan, and others internally a daily report that

tracked Archegos’s cash equity positions in each issuer it held relative to the issuer’s outstanding

shares to ensure that Archegos never exceeded the 5% beneficial ownership disclosure threshold.

       32.     Archegos executed agreements with about a dozen Counterparties to facilitate its

SBS executions, retaining some of them as prime brokers.

       33.     Archegos predominantly used total return SBSs to obtain its long exposures (and

leverage). These SBSs would reference a single issuer and generally carry a two-year term (i.e.,

they would not reset periodically over the term of the SBS).

       34.     Under the terms of the SBSs, Archegos and its Counterparties agreed to exchange

cash flows dependent on the price of the referenced security: If the price of the referenced

security depreciated, the Counterparty was entitled to call on Archegos to post variation margin

to cover the mark-to-market loss; if the price of the referenced security appreciated, Archegos

was entitled to call on its Counterparty to post variation margin to cover its mark-to-market gain.

       35.     Although Archegos was entitled to call any variation margin achieved through

price gains in the underlying shares at any time, it was not obligated to do so. It could, and often

did, choose to leave uncalled variation margin (“excess margin”) at its Counterparties – for

instance, as a buffer to cover margin calls from subsequent price declines.

       36.     Its Counterparties generally executed these SBSs through risk-neutral financing

desks, often referred to as Delta One or Delta Neutral desks.

       37.     As Defendants understood, and consistent with industry standards, Archegos’s

Counterparties would ensure any corollary synthetic exposure created by its execution of SBSs

with Archegos was fully hedged; therefore, as they filled Archegos’s SBS orders, Archegos’s




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Counterparties would purchase shares of referenced issuers in the market to the extent necessary

to hedge any synthetic exposure created by the SBSs.

       38.     Typically, therefore, as Defendants understood and expected, the Counterparties

purchased one share of an issuer’s stock for each share of Archegos’s SBS exposure to that

stock. Thus, for example, if Archegos purchased exposure to GSX Techedu Inc. (“GSX”)

through a SBS, then the Counterparty would purchase a common share of GSX for each share of

Archegos’s exposure to GSX. If the price of GSX went up $1, then it would owe Archegos $1

on the SBS, but the Counterparty’s own share of GSX would also increase by $1, meaning the

Counterparty was fully hedged to Archegos’s SBS position in GSX. Counterparties profited by

charging a financing fee on the transaction.

       39.     Hwang viewed Archegos’s SBS contracts as if Archegos was trading the

underlying securities, fully understanding that Archegos’s purchase of the SBS meant that the

Counterparty would purchase shares of the underlying issuer. Indeed, as Archegos personnel

knew, certain of the Counterparties would not finalize and price their SBS contracts with

Archegos until they had first hedged the contracts by purchasing an equivalent number of shares

of the underlying issuers.

       40.     Each Counterparty established risk, margin, and capacity parameters that defined

the extent of their trading relationship with Archegos. Given its numerous Counterparties,

Archegos was able to spread its positions across them.

       41.     This practice and use of multiple Counterparties further limited transparency into

the size of Archegos’s portfolio and the extent to which it was concentrated. Although each

Counterparty could see what positions Archegos held with it, each had limited, and in some




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cases no, visibility into Archegos’s holdings elsewhere, relying upon Archegos to be truthful and

accurate in whatever information it was willing to provide as to its aggregate holdings.

       42.     As discussed further below, Archegos was not truthful and accurate in providing

such information.

III.   Archegos Engaged in Manipulative Trading

       43.     Archegos, through Hwang’s investment decisions and Tomita’s trading to execute

on those decisions, engaged in manipulative trading that impacted multiple securities during the

Relevant Period. As Archegos, through Hwang and Tomita, knew and intended, Archegos used

the SBSs to gain exposure to Archegos’s Top 10 Holdings while concealing the true state of

Archegos’s positions from the market and misleading Archegos’s Counterparties about those

positions.

       44.     On April 22, 2022, Tomita pled guilty to criminal law violations concerning the

facts alleged in this Amended Complaint. See U.S. v. Sung Kook (Bill) Hwang, et al., 22 Cr. 240

(S.D.N.Y.).

       45.     For Tomita’s first appearance and anticipated waiver of indictment and plea

proceeding on April 22, 2022, when asked by the Court what makes him guilty of the crimes to

which he was pleading, Tomita stated in part:

       “…I and others executed trades that allowed the fund to amass market power and
       certain securities traded on U.S. exchanges. Archegos used security-based swaps
       to gain exposure to these securities while concealing the true size of the fund’s
       positions from the market and our trading counterparties.
               Once Archegos gained market power in these securities, I and others used
       this power to trade in such a way as to artificially manipulate the prices of the
       securities.
               Acting at the direction of the head of the fund [Hwang], I traded to
       increase the prices of names in which Archegos held long positions and reduced
       the prices of securities in which the fund hel[d] short positions. I did this by, for
       example, buying large amounts of a stock when the price dropped in response to



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       negative news or trading premarket when I knew the fund’s activity would have a
       greater impact on price.
               I manipulated the prices of these securities in order to influence others in
       the market to buy or sell the securities in ways that would benefit Archegos’[s]
       key positions and increase Archegos’[s] purchasing power through variation
       margin.
               In addition to manipulating the prices of certain securities, I also made
       misrepresentations to Archegos’[s] trading counterparties. These counterparties
       were banks and brokers who extended the fund credit to trade on margin and
       entered into swap agreements with the fund.
               I knew that the fund’s counterparties considered Archegos’[s] portfolio
       and assets when setting margin rates and limits on swap capacity. In order to
       maintain favorable margin rates and gain additional swap capacity, I made false
       and misleading statements and omissions regarding the size and the composition
       of the fund’s portfolio. I knew that doing so would mislead counterparties as to
       the true risks presented by the fund….
               While engaged in the activities I described, I worked under the supervision
       of [Hwang]…. I agreed with [Hwang] and others to carry out the business of
       Archegos through a pattern of manipulating prices of securities and deceiving
       counterparties.”

       46.     Archegos’s trading of its Top 10 Holdings during the Relevant Period, which

Hwang directed, further confirms that Hwang intended his investment decisions and Archegos’s

trading through Tomita and others to artificially inflate the stock prices of Archegos’s Top 10

Holdings.

       47.     As described in greater detail below, Archegos exercised domination over the

market of certain issuers’ securities. When considering its cash equity and SBS positions

cumulatively, Archegos held massive exposures to its Top 10 Holdings.

       48.     During the Relevant Period, Archegos, at Hwang’s direction, added staggering

levels of exposure day-over-day, equating to a substantial number of shares, while entering

orders providing for trading at volumes that demonstrated the goal to artificially impact the

market.

       49.     As Tomita described to the Court, Archegos, at Hwang’s direction, also traded in

other ways with the intent to inject false information into and manipulate the market in its largest

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holdings. In particular, Archegos purposefully engaged in series of transactions and trading

activity (1) in the pre-market in order to “set the tone” where liquidity was low (as Hwang

referred to this practice); (2) during the day, by bidding up prices; and (3) at the end of the

trading day, when maximum impact could be achieved on closing price or to “mark the close.”

These efforts were intended to enhance the share price of the Top 10 Holdings at strategically

important moments in order to induce others to purchase securities, to stave off price drops, or to

enhance end of the day pricing including for margin purposes.

       50.     Archegos also entered into other non-economic transactions, including, among

others, transactions solely intended to maintain certain prices and to counteract selling pressure.

       51.     Archegos and Hwang’s purpose for these manipulative trading strategies was at

least twofold: (1) to increase the stock prices of its Top 10 Holdings and, thus, allow Archegos to

increase its market share of those holdings; and (2) to avoid stock price declines in its Top 10

Holdings that could result in Counterparty margin calls on Archegos’s SBSs for those stocks

that, in turn, would lead to further stock price declines (because Archegos would need to sell

stock to meet those margin calls), resulting in a downward spiral of the market value of

Archegos’s Top 10 Holdings.

       52.     Thus, during the Relevant Period, Defendants, at Hwang’s direction, agreed to

conduct Archegos’s business through a continuous pattern of manipulating the market prices of

Archegos’s Top 10 Holdings and deceiving the Counterparties. Hwang’s central aim, which he

directed the other Defendants to execute, was to control the market price and, thus, artificially

increase the market value, of Archegos’s Top 10 Holdings.

       53.     During the Relevant Period, Archegos’s false assurances to its Counterparties

regarding its risk exposure to its Top 10 Holdings, and its manipulative trading in those stocks,



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interrupted the natural interplay of supply and demand for those stocks – and distorted their

underlying economic value for the Counterparties and other market participants – by causing at

least two sets of false pricing signals in the market: (1) that the Top 10 Holdings stocks were

held by a relatively broad range of market participants, reflecting a relatively broad supply and

demand for those stocks – when, in fact, a single buyer (Archegos) was surreptitiously, and by

fraudulent means, dominating the market for those stocks; and (2) that the prices of those stocks,

both daily and over time, reflected normal market forces when, in fact, their steep climb (and

ultimate precipitous fall) was due at least largely to Archegos’s fraudulently dominating the

market for, and engaging in manipulative trading of, those stocks.

             A. The Size of Archegos’s Portfolio Exploded After March 2020

       54.      At the onset of the Covid-19 pandemic in early 2020, Archegos’s capital was

down fairly substantially.

       55.      Beginning after March 2020 and accelerating through the first quarter of 2021,

Archegos’s portfolio, at Hwang’s direction, underwent rapid and exponential growth.

       56.      As of March 31, 2020, Archegos had approximately $1.6 billion in invested

capital, on gross exposures of approximately $10.2 billion.

       57.      As of January 1, 2021, Archegos had approximately $7.7 billion in invested

capital, on gross exposures of approximately $54 billion.

       58.      And, as of March 22, 2021, Archegos had over $36 billion in invested capital, on

over $160 billion in gross exposures.

             B. The Identity and Nature of Archegos’s Top 10 Holdings Changed

       59.      Beginning after March 2020 and accelerating through the first quarter of 2021,

Archegos’s portfolio, at Hwang’s direction, shifted such that the issuers to which it held its



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largest exposures were different, and often less liquid, than in the past. Specifically, Hwang

directed Archegos’s long exposures to be moved away from highly-liquid, larger cap issuers

toward less liquid, China-based issuers, as well as relatively smaller cap U.S. media and

technology companies.

         60.     For example, in March 2020, Archegos’s top 10 holdings included mega-cap

issuers Amazon.com, Inc. (“Amazon”) and Microsoft Corporation.

         61.     By March 2021, those companies were replaced among Archegos’s Top 10

Holdings by a number of China-based issuers, as well as ViacomCBS Inc. (“ViacomCBS”) and

two Discovery, Inc. (“Discovery”) share classes, with the following distribution of exposure over

time:

        Ticker                           Number of Shares2 (Market Value)
                         Jul. 1, 2020      Oct. 1, 2020     Jan. 1, 2021         Mar. 22, 2021
    VIAC              49.3M ($1.2B)      123.0M ($3.4B) 185M ($6.7B)            286M ($28.6B)
    BIDU-ADR          11.2M ($1.4B)      22.3M ($2.8B)    31.6M ($6.6B)         55M ($14.6B)
    TME-ADR           59.0M ($788M)      118.0M ($1.8B) 210M ($4B)              326M ($10.0B)
    GSX-ADR           19.3M ($1.1B)      38.8M ($3.6B)    70M ($3.4B)           101M ($8.5B)
    VIPS-ADR          36.4M ($759M)      79.0M ($1.3B)    115M ($3.2B)          169M ($7.6B)
    DISCA             3.0M ($63M)        3.0M ($65M)      60M ($1.8B)           100M ($7.5B)
    IQ-ADR            67.2M ($1.6B)      105.3M ($2.4B) 155M ($2.8B)            225M ($6.3B)
    DISCK             1.3M ($25M)        1.3M ($27M)      1.3M ($34M)           91M ($6.0B)
    FTCH-ADR          6.4M ($116M)       18.4M ($500M) 37M ($2.2B)              92M ($5.7B)
    SHOP-ADR          N/A                N/A              970 ($1M)             1.7M ($1.9B)

         62.     The increase of the portfolio’s and Top 10 Holdings’ values was driven by

Archegos’s build-up of exposures, which was intended by Hwang to artificially inflate the share

prices of the Top 10 Holdings.

         63.     As Archegos’s positions grew into fall 2020 and early 2021, Hwang considered

whether block trading – a privately negotiated sale of a large number of shares – would allow



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         Share count includes cash equity and derivative SBS positions cumulatively.
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him to exit his largest positions without substantial losses that would trigger margin calls.

Archegos personnel, at Hwang’s direction, reached out to financial institutions to explore this

possibility but learned that block sales would come at a steep discount to the then-market price of

the security. Archegos did not engage in block trading of its largest positions at this time.

       64.       Thus, by late 2020 and early 2021, Archegos hit a point of no return – it could not

sell its Top 10 Holdings without determinately impacting their stock price, and if it stopped

purchasing its Top 10 Holdings, their stock prices could not remain at artificial heights. So

Archegos continued adding to its already concentrated positions.

             C. Archegos Asserted Dominance over the Market of Its Top 10 Holdings

       65.       The size of Archegos’s exposures to its Top 10 Holdings allowed Archegos to

assert a dominant market position over the securities of these issuers, which was intended to

artificially manipulate the value of those positions. As Tomita described to the Court, “I and

others executed trades that allowed the fund to amass market power and certain securities traded

on U.S. exchanges.... Once Archegos gained market power in these securities, I and others used

this power to trade in such a way as to artificially manipulate the prices of the securities.”

       66.       For example, by late March 2021, Archegos’s cumulative cash equity and

derivative SBS exposures to the following issuers equated to the following percentages of

outstanding shares, based on Archegos’s estimate of those issuers’ floats:

                GSX Techedu Inc. (“GSX”) – Over 70% of outstanding shares;

                Discovery Class A – Over 60% of outstanding shares;

                IQIYI Inc. – Over 50% of outstanding shares;

                ViacomCBS – Over 50% of outstanding shares;

                Tencent Music Entertainment Group (“Tencent”) – Over 45% of outstanding
                 shares; and

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                Discovery Class C – Over 30% of outstanding shares.

       67.       Hwang knew that Archegos could impact markets through the exercise of its sheer

buying power. For example, in June 2020, when asked in a text message by an Archegos analyst

whether ViacomCBS’s stock price improvement that day was “a sign of strength,” Hwang

responded, “No. It is a sign of me buying,” followed by a “tears of joy” or laughing emoji. That

day, Archegos’ SBS long purchases equated to approximately 17.9% of all trading volume in

ViacomCBS, and the stock price closed at $23.59, up over 7% from its $22 price at market open.

       68.       Hwang’s awareness of his ability to impact stock prices is also reflected in his

statements to his traders. At various times, Hwang would direct his traders to trade a particular

name “without impact” or “no impact,” meaning that for that particular transaction Hwang did

not want his traders to move the stock price. By late 2020 and early 2021, as Hwang sought to

further artificially inflate stock prices, Hwang generally did not use this direction for the Top 10

Holdings and instead conveyed to his traders that he wanted them to impact stock prices.

       69.       During the Relevant Period, and particularly from January through March 2021,

Archegos, at Hwang’s direction, often traded the equities of and SBSs referencing its Top 10

Holdings on numerous days and sometimes week-after-week, typically at large volumes. Hwang

frequently directed his traders, including Tomita, to get “aggressive,” which meant for them to

add exposures quickly and at large volumes.

       70.       This approach was a marked departure from Archegos’s typical manner of trading

historically, when Hwang had instructed his traders to trade deliberately and discretely to avoid

market impact, typically going days without adding to existing exposures and studiously

avoiding trading volumes that could cause ripples in the market.




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       71.     When entering SBS orders, Archegos often could select the trading volume the

Counterparty would use to purchase its stock hedges as a parameter for purposes of executing its

SBSs or otherwise select an algorithm that generally aligned with certain trading volumes.

       72.     During the Relevant Period, and particularly from January through March 2021,

Archegos’s trading of the equities of and SBSs referencing its Top 10 Holdings frequently

exceeded 20%, often reached 30%, and even surpassed 40% of certain issuers’ daily trading

volume, which was intended to inflate the stock prices.

       73.     For example, from November 16, 2020 to January 4, 2021, Archegos’s trading of

the equities of and SBSs referencing Discovery Class A shares reached or breached

approximately 25% of Discovery Class A shares’ daily trading volume on 17 of 33 trading days.

And, from November 24, 2020 to January 4, 2021, Archegos’s trading only dropped below 20%

of Discovery Class A shares’ daily trading volume on 7 of 27 trading days and was greater than

30% ten times, including a high of 40%.

       74.     Further, from January 6, 2021 to March 24, 2021, Archegos’s trading of the

equities of and SBSs referencing Discovery Class C shares reached or breached approximately

25% of Discovery Class C shares’ daily trading volume on 29 of 54 trading days. And, from

January 29, 2021 to March 11, 2021, Archegos’s trading only dropped below approximately 20%

of Discovery Class C shares’ daily trading volume on 2 of 29 trading days and was greater than

approximately 30% fourteen times, including a high of approximately 40%.

       75.     From March 2, 2021 to March 23, 2021, Archegos’s trading of the equities of and

SBSs referencing Farfetch Ltd. (“Farfetch”) reached or breached approximately 20% of

Farfetch’s daily trading volume on 14 of 16 trading days, including three days where trading




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surpassed approximately 40% of daily trading volume, including a high of over 50% on March

18.

        76.    As Hwang and Tomita knew and intended, such large trading volumes on a given

day would and did create upward pressure on the share price and often result in the share price

increasing. Indeed, Hwang and Tomita generally understood that trading in volumes greater than

10-15% of the daily trading volume of a specific issuer would likely affect the market price in

that issuer.

        77.    In fact, the share prices of a number of the Top 10 Holdings experienced price

spikes during the Relevant Period, increasing to artificial levels that were not sustained after

Archegos’s collapse in late March 2021. As Archegos’s percentage ownership of its Top 10

Holdings continued to increase during the Relevant Period, the available stock outstanding not

owned by Archegos decreased, thereby compounding the market impact of Archegos’s buying

activity in these names.

        78.    For example, ViacomCBS’s share price rose to around $40 in early January 2021,

to around $55 in late January 2021, and to around $70 in early March 2021. Then, its share price

rose to over $80 on March 10 and to over $94 just two days later on March 12, spiking all the

way to $100 on March 22. That is, ViacomCBS’s share price increased approximately 150% in

less than three months, with a lack of publicly available information that would support such a

share price increase.

        79.    Then, about one month later, on April 23, 2021, the share price for ViacomCBS

closed at $41.71.




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       80.       Other of the Top 10 Holdings experienced similar share price spikes during the

Relevant Period, including for example:

                Discovery Class A;




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                Discovery Class C; and




                Vipshop Holdings Ltd.




       81.       These price movements ran in dissimilar fashion to the general market at the time.

For example, the share price spikes of Discovery Class A and C shares and ViacomCBS are not

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correlated with the price of the NASDAQ-100 index (as reflected in Invesco QQQ Trust, an

exchange-traded fund that tracks that index), as illustrated below, with the y-axis reflecting the

value of one dollar invested from the start of period:




             D. Archegos Traded in Other Manipulative and Non-Economic Ways to Impact
                the Markets of its Top 10 Holdings

       82.      During the Relevant Period, and particularly from January to March 2021,

Archegos, at Hwang’s direction, employed numerous tactics intended to artificially impact the

share prices of the Top 10 Holdings. None of this trading was based on a principled view of the

true value of a particular issuer and instead was intended to artificially inflate share prices.

       83.      Indeed, Hwang essentially sidelined his in-house research team, ignoring their

stock price targets in favor of his own outsized stock price targets, which were often orders of

magnitude larger than what his research operation had determined on its own and, unlike his

research operation, based on little or no analytical support.




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       84.       Archegos, as directed by Hwang, timed some of its trading to maximize market

impact, engaging in both pre-open trading, as well as trading at the end of the trading day,

particularly from January to March 2021.

       85.       Archegos, as directed by Hwang, engaged in a series of transactions prior to

market open with manipulative intent and for the purpose of “setting the tone” for the trading

day, that is, pushing the share prices of certain issuers, in which Archegos held long exposures,

upward. Hwang’s goal, executed by Tomita, was to induce other traders, such as short sellers or

other market participants, to observe active trading in and upward price movement of the share

prices of certain issuers and, as a result, purchase those issuers’ securities during the day in

response to the price momentum created by Archegos’s pre-open trading. As Tomita described

to the Court, “[a]cting at the direction of [Hwang], I traded to increase the prices of names in

which Archegos held long positions [] by, for example, [] trading premarket when I knew the

fund’s activity would have a greater impact on price.”

       86.       From January to March 2021, ViacomCBS was the issuer that was included in

Archegos’s Top 10 Holdings, in which Archegos did the largest amount of pre-open trading.

Specifically, Archegos traded ViacomCBS pre-open nineteen times, including two days when

orders exceeded the equivalent of 1 million shares, and on every trading day but one, from

March 5 to 19.

       87.       From January 14, 2021 to January 22, 2021, Archegos traded GSX pre-open each

day, with Tomita alerting Hwang, among others, at 8:11am on January 22: “eyeing premarket

for GSX [] just 12k shares traded and down -1.9%, I think it’s good to think about getting

involved premarket again today.” In other words, Archegos considered premarket trading in




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order to counteract selling pressure on GSX or to otherwise maintain and inflate the GSX share

price.

         88.    Archegos also engaged in substantial trading during the end of the trading day –

that is, “marking the close” – to again push the stock prices of certain issuers, in which Archegos

held long exposures, upward. The goal was that the upward movement in stock prices would

lead to an increase in margin on Archegos’s SBSs, which was based on end of day valuations,

thereby providing Archegos with even more leverage to purchase more exposure to the same

issuers the next day, among other reasons.

         89.    From January to March 2021, Archegos did substantial trading in Baidu Inc.

(“Baidu”) during the last 30 minutes of the trading day. Specifically, from January 25, 2021 to

March 23, 2021, Archegos traded Baidu during the last 30 minutes during the majority of trading

days, including 22 days when orders exceeded the equivalent of over 100,000 shares (with

dollars exceeding $29 million on each of those days), and four days when orders exceeded the

equivalent of over 500,000 shares (with dollars exceeding $136 million on each of those days).

         90.    From January to March 2021, Archegos also did substantial trading in Tencent

during the last 30 minutes of the trading day. Specifically, from January 6, 2021 to March 23,

2021, Archegos traded Tencent during the last 30 minutes during the majority of trading days,

including 34 days when orders exceeded the equivalent of over 100,000 shares (with dollars

exceeding $2 million on all of those days), 15 days when orders exceeded the equivalent of over

500,000 shares (with dollars exceeding $12 million on all of those days), and five days when

orders exceeded the equivalent of over 1,000,000 shares (with dollars exceeding $30 million on

all of those days), including a high of over 1.76 million shares.




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       91.     Archegos also traded throughout the day in a manner that served to increase the

share prices of the Top 10 Holdings. In certain instances, when trading SBSs, Hwang would

direct his traders to enter limit order instructions, incrementally increasing the limit throughout

the trading day as SBS orders were filled, both in an attempt to increase the stock price and to

induce others to purchase the stock.

       92.     In addition, Archegos traded in other non-economic ways in response to intra-day

price movements in the share price rather than, for example, changes in the fundamental outlook

for the issuer. As Tomita described to the Court, “[a]cting at the direction of [Hwang], I traded

to increase the prices of names in which Archegos held long positions [] by, for example, buying

large amounts of stock when the price dropped in response to negative news….” The goal of this

trading was simply to counteract selling pressure or to otherwise maintain share prices.

       93.     One example of this sort of non-economic trading occurred in December 2020.

Tomita messaged among others, Hwang, that “someone came and hit FTCH down fifty cents to

$55.00. Not huge volume but we stepped it up.” At the end of that trading day, Archegos had

exposures equivalent to over 27 million shares of Farfetch, and, given the leverage of the

position, a price decrease could have significantly increased the amount of margin that Archegos

needed to post with Counterparties.

       94.     Another example of Archegos’s non-economic trading occurred in March 2021.

An Archegos trader messaged among others, Hwang, that after Discovery Class C shares opened

at $61.68, Archegos should enter orders of “60.00-61.00 and be aggressive below 60.00 because

some short term people see whether the stock can keep 60.00 floor as psychological level.”

Hwang responded within seconds, writing “I LIKE THAT PLEASE GO AHEAD WITH $50

MIL.” Over the course of the trading, Hwang periodically sought status updates on trading to



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gain greater exposure to Discovery Class C shares, often then increasing the size of the exposure

to be added and incrementally walking up the limits orders, with a message late in the day

writing “FIRM LIMIT TO 63” and including instructions to “LET’S BE AGGRESSIVE.”

Discovery Class C shares closed at $62.99 that day.

IV.    Archegos’s Misrepresentations to Counterparties Fueled Its Manipulative Trading

       95.     As Hwang understood, the only way for Archegos’s manipulative trading strategy

to succeed during the Relevant Period was for it to continue adding to its already concentrated

positions. By the second half of 2020, it was becoming more and more difficult to add to

positions. Archegos’s growing position sizes began to bump up against the Counterparties’

trading capacity limits – limits on the amount of SBSs that Counterparties would allow Archegos

to hold in particular companies.

       96.     In addition, as Archegos’s positions grew and became more concentrated,

Counterparties were increasing the amount of margin – cash deposited to serve as collateral for

the SBSs – required of Archegos to add to existing positions (or to put on new positions).

       97.     Thus, as Archegos’s Top 10 Holdings grew and it became increasingly important

to continue growing those positions, Hwang started to put on positions at increasing economic

cost. For example, many Counterparties began to increase margin requirements up to 100%

collateral for certain SBSs, meaning that Hwang had to essentially fully purchase the position

and could not purchase on margin. The higher margin requirements meant that these positions

had less profit potential than similar positions purchased with a lower margin requirement.

       98.     The capacity limits and margin requirements were critical tools used by

Counterparties to manage and mitigate risks associated with Archegos’s positions, and those

limits and requirements made it more difficult and expensive for Archegos to add to its positions.



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       99.     But Hwang was determined to obtain more exposure to his concentrated positions

however he could find it. In one instance, when one of Archegos’s Counterparties had reached

an internal cap on how much overall exposure the Counterparty was willing to have to GSX,

Hwang personally reached out to an investment adviser to request it close its GSX positions at

the Counterparty and then reestablish its GSX exposure at another Counterparty in order to free

up capacity for Archegos at the first Counterparty. The other adviser agreed and Hwang was

able to add to Archegos’s GSX position. The movement of these positions between

Counterparties assisted Hwang in ultimately owning the equivalent of 70% of the outstanding

shares of GSX, which was not disclosed to any Counterparty.

       100.    More broadly, in response to these constraints imposed by Counterparties and in

order to continue buying the same positions, Archegos, at Hwang’s direction, sought to onboard

new Counterparties to obtain additional SBS capacity, and to engage existing Counterparties in

discussions and negotiations in an effort to increase trading capacity limits and decrease margin

requirements (or forestall margin increases). Also at times, Counterparties, for risk management

purposes, engaged with Archegos personnel as its portfolio and risk profile grew.

       101.    In these discussions, Counterparties frequently asked questions about Archegos’s

concentration levels and portfolio makeup in order for the Counterparties to evaluate whether

and how much to increase capacity limits, or to change margin levels.

       102.    Becker and Tomita, who typically led these discussions, and Halligan and Hwang,

who at times directed these discussions, understood based on their experiences and discussions

amongst themselves that if Archegos provided truthful information to questions about

concentration or portfolio construction, or refused to provide such information, then

Counterparties would not, or likely would not, authorize an increase in capacity or provide more



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favorable margin rates, and that the Counterparties might otherwise limit the ability to add to the

Top 10 Holdings.

       103.    But Hwang mandated that Archegos personnel not provide such information,

which Counterparties would need to extend risk limits. At the same time, Hwang directed

Tomita and Becker on numerous occasions to secure capacity increases and obtain more

favorable margin changes.

       104.    As a result of the intense pressure to add capacity that came from Hwang and

Hwang’s directive not to provide full information to Counterparties, Archegos, through Halligan,

Tomita, and Becker, knowingly or recklessly gave materially false information to Counterparties,

or omitted material information, regarding the concentration and liquidity of its portfolio. They

gave this false information to enable Archegos to gain additional capacity to add to their long

SBSs (which it did), to gain more favorable margin rates, and during the week of its collapse in

March 2021, to attempt to satisfy margin calls.

       105.    In addition, Hwang, directly and indirectly, misled Counterparties, and knew or

was reckless in not knowing that Halligan, Tomita, and Becker could not have successfully

obtained the capacity increases and margin changes without providing false or misleading

information to Counterparties. Thus, with the implicit and at times explicit permission and

direction of Hwang, the other Defendants provided false and misleading information to

Counterparties in an effort to conduct SBS transactions and obtain margin lending, all to

facilitate Archegos’s manipulative trading scheme. As Tomita told the Court, “I agreed with

[Hwang] and others to carry out the business of Archegos through a pattern of manipulating

prices of securities and deceiving [C]ounterparties.”




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       106.     On April 21, 2022, Becker pled guilty to criminal law violations concerning the

facts alleged in this Amended Complaint. See U.S. v. Sung Kook (Bill) Hwang, et al., 22 Cr. 240

(S.D.N.Y.). For his allocution that day, Becker summarized for the Court his false statements to

Counterparties, which fueled Archegos’s trading:

                “I understood that [Counterparties] would not open relationships with
                Archegos, extend Archegos trading capacity, or offer Archegos favorable
                margin rates without certain representations to them about the overall
                holdings within the Archegos portfolio.
                        In order to induce [Counterparties] to, among other things, extend
                Archegos the credit necessary to purchase equities or engage in swap
                transactions, on several occasions, in coordination with others at
                Archegos, I made false or misleading statements to the [Counterparties]
                about Archegos’s portfolio….
                        I knew these statements to be untrue. I made these and other
                similar misstatements to induce the [Counterparties] to continue extending
                Archegos trading capacity as well as to dissuade these [Counterparties]
                from liquidating positions held in Archegos’s account or to take other
                action that might hurt Archegos’s overall portfolio.”

       107.     Specific examples of how Archegos personnel misled Counterparties include the

following.

             A. Misrepresentations to CP1

       108.     In a September 2020 phone call, Tomita misled CP1 into thinking that Archegos’s

position in GSX – one of its largest across its various Counterparties – was unique to CP1. As a

result, CP1 continued to allow Archegos to add to its GSX exposure through SBSs.

       109.     Later, in February 2021, in connection with Archegos’s request for additional

trading capacity instigated by Hwang, Becker falsely claimed several times that Archegos’s

largest single position was only 35% of Archegos’s net asset value (“NAV”), or capital. He also

claimed that Archegos could liquidate its entire portfolio within two weeks by trading at 15% of

average daily trading volume (“ADV”). These statements were false, as Becker knew.




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       110.    Becker learned from Halligan how to interact with, and in some instances

mislead, Counterparties. When Becker took over Halligan’s role as the lead in interacting with

Counterparty risk divisions in approximately 2018, Halligan knew that Counterparties asked

about position size and at that time he instructed Becker to tell Counterparties that Archegos’s

largest position was 35% of NAV, regardless of whether that was true. Halligan, Becker’s

supervisor, knew that Becker in his role regularly discussed position size with Counterparties and

therefore knew, or was reckless in not knowing, that Becker would provide false information to

Counterparties, as he had previously instructed. Halligan also knew that on these calls the

Counterparties would rely on the information Becker provided in determining whether to provide

additional capacity to Archegos for its long SBSs, or to provide more favorable margin rates.

Becker did not question Halligan’s instruction because he understood this type of deception to be

part of Archegos’s culture.

       111.    Becker made similar misstatements in multiple calls to CP1 in March 2021. For

example, on March 8, 2021, Becker spoke with CP1’s credit risk group concerning a request

from Archegos for an additional $2 billion in trading capacity. In response to inquiries from

CP1, Becker stated, among other things, (1) Archegos’s single largest positions at other

Counterparties were in different, larger, and more liquid names than the largest positions it held

at CP1, and (2) Archegos’s single largest position totaled approximately 35% of Archegos’s

capital (the number previously provided by Halligan).

       112.    Both representations were false. As Becker knew, Archegos’s largest long

exposures at other Counterparties were in the same names as those it held with CP1, and

Archegos’s largest position at the time was substantially higher.




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       113.    Following this March 8 conversation, and before approving the request for

increased trading capacity, CP1 requested additional information regarding how quickly

Archegos would be able to close out its entire book in a distressed situation.

       114.    Before responding, Becker conferred internally with Tomita and Halligan to

formulate a response. The three of them agreed to provide false and misleading information to

CP1. In particular, they agreed that Becker would falsely state that they could liquidate their

entire book within thirty days at 10% to 15% of ADV. Becker relayed this information to CP1.

       115.    Halligan, Tomita, and Becker knew, or recklessly disregarded, that this

representation was false. According to internal analyses Archegos maintained at the time, and to

which they all had access, it would take more than twice that long to liquidate the portfolio at

15% of ADV and the largest positions would take months to liquidate at that rate.

       116.    In reliance on these assurances, CP1 approved the requests for increased capacity.

Archegos immediately used the additional capacity, executing more SBSs with CP1 in the same

concentrated names, which, in turn, resulted in CP1 purchasing additional shares of the

referenced security to hedge its exposures.

           B. Misrepresentations to CP2

        117. On January 28, 2021, as a result of significant single-day losses in Archegos’s

portfolio, CP2’s risk management team reached out to Becker to get a better understanding of

Archegos’s risk profile and overall portfolio positioning. Becker misrepresented to CP2 on this

call that Archegos’s top holdings were only 35% of Archegos’s NAV (the number previously

provided by Halligan).

        118. This was false: Archegos’s two largest positions were more than half of

Archegos’s NAV at the time.



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        119. Likewise, in early March 2021, in connection with a routine due diligence credit

call regarding Archegos’s portfolio concentration, CP2’s credit risk department asked Becker for

updated information regarding Archegos’s largest holdings. Becker again misrepresented to CP2

that its largest holding was approximately 35% of its capital (the number previously provided by

Halligan) and that its other top 10 holdings were approximately 30% of capital each.

        120. These statements were false and misled CP2 into thinking Archegos’s exposures

were much smaller than they actually were. After each misrepresentation, CP2 continued to

extend capacity and margin in reliance on those statements, and Archegos continued to add SBSs

in its Top 10 Holdings with CP2.

           C. Misrepresentations to CP3

       121.    During an October 21, 2020 due diligence call with risk personnel from CP3,

Becker represented falsely that Archegos’s largest position was only 35% of Archegos’s then

total capital (the number previously provided by Halligan) when in fact Archegos’s largest

positions were 80% and 70% of capital. Becker also falsely claimed that positions away from

CP3 were “generally” cash equity positions.

       122.    On a call two days later, on October 23, 2020, Becker also misled CP3 into

thinking that Amazon – a mega-cap stock – was one of Archegos’s top 5 holdings and that

Archegos’s Amazon position was approximately 30% of its capital, when in truth, Amazon was

not one of Archegos’s top 5 holdings and comprised only 11.5% of Archegos’s portfolio.

       123.    On a January 25, 2021 due diligence call with CP3, Becker likewise

misrepresented the size of Archegos’s largest position, claiming, again, that it was 35% of

Archegos’s capital (the number previously provided by Halligan) when in fact its largest position

at the time (ViacomCBS) constituted over 60% of Archegos’s capital.



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       124.    Moreover, Becker claimed on this call that Archegos’s overall portfolio was

concentrated in highly liquid tech stocks, citing Netflix Inc., Amazon, and Alphabet Inc. But

none of these names was among the Top 10 Holdings, and the largest (Amazon) represented only

about 1.3% of Archegos’s capital at the time.

       125.    Additionally, under its ISDA Master Agreement with CP3, Archegos was

required to return signed transaction confirmations upon the consummation of each SBS

executed through CP3. These confirmations contained the representation that, with respect to the

transaction subject to the confirmation, “the aggregate amount of all Shares beneficially owned

by [Archegos] for purposes of Section 13(d) of the Exchange Act, when combined with the

notional amount of Shares underlying any long derivative positions, is less than 5% of the

outstanding shares.”

       126.    Halligan signed these confirmations attesting to the accuracy of the

representations. A number of the representations in these signed confirmations were false

because Archegos owned more than 5% of the outstanding shares through the equities and SBSs.

       127.    At the time Halligan signed the confirmations, based on his knowledge of

Archegos’s portfolio and his intent at the time to hide the true makeup of Archegos’s portfolio

from the Counterparties, Halligan knew or recklessly disregarded that they contained the above

false statements.

           D. Misrepresentations to CP4

       128.    In February 2021, Archegos sought additional trading capacity in GSX, one of its

most concentrated holdings. Archegos’s cumulative long exposure to GSX (inclusive of cash

equity and derivative SBS exposures) grew in size that month, and by February 17, totaled




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approximately 86 million shares, or about 59% of the GSX shares outstanding, spread across its

various Counterparties.

         129.   Based on the size of Archegos’s position in GSX held with CP4, an employee

from CP4 grew concerned about Archegos’s overall concentration levels in the issuer, and on

February 18, 2021, reached out to Tomita and asked for detail regarding the extent of its GSX

exposure across its Counterparties.

         130.   On the call, Tomita initially attempted to deflect the question by noting that

Archegos was not a “disclosed holder” of GSX (i.e., did not file Section 13(d) filings on that

name).

         131.   The CP4 employee observed that that response did not account for any derivative

SBS positions Archegos might have with other Counterparties, and noted in particular that the

disclosed holders in GSX were principally banks and other financial institutions – precisely the

institutions that would be buying the underlying shares as a hedge if Archegos had executed

SBSs with them. The CP4 employee expressed concern that if Archegos held similarly-sized

positions in GSX across its Counterparties as it did with CP4, then Archegos might cumulatively

be the beneficial owner of almost 20% of GSX’s outstanding shares.

         132.   In response, Tomita misled the individual into believing that it must have been

other entities’ SBS positions that caused those reported positions, not Archegos, when in fact (as

Tomita knew) it was Archegos, which at the time had exposure to about 59% of GSX’s

outstanding shares through SBSs.

         133.   In reliance on these assurances, CP4 extended additional trading capacity in GSX

to Archegos, when it would not have had it been informed of the true size of Archegos’s

holdings. Archegos then used this capacity to add to its already concentrated GSX position.



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       134.    Becker also provided false information to CP4 regarding the liquidity and

concentration of Archegos’s overall portfolio.

       135.    As Archegos grew its portfolio with CP4 more aggressively, CP4’s credit team

implemented monthly due diligence check-ins with Becker to get updates on the portfolio

composition and performance. For instance, in February 2021, reporting on Archegos’s portfolio

as of month-end for January 2021, Becker told CP4 that Archegos’s largest position was 35% of

Archegos’s capital (the number previously provided by Halligan), and that it could fully liquidate

its portfolio within 2 weeks at 10% to 20% of ADV.

       136.    As Becker knew, both representations were false: As of January 2021,

Archegos’s largest position (ViacomCBS) was over 60% of its capital. And it would take

months, not weeks, to liquidate at 10% to 20% of ADV.

       137.    Likewise, in March 2021, reporting on February month-end, Becker repeated the

false statement that Archegos’s largest position was only 35% of its capital, at a time when that

position, in fact, represented over 70% of Archegos’s capital.

           E. Misrepresentations to CP5

       138.    In March 2021, Becker had a due diligence call with a credit officer from CP5,

who sought additional information regarding Archegos’s portfolio liquidity and composition.

       139.    As he did with other Counterparties, Becker misled CP5 regarding Archegos’s

liquidity profile, claiming falsely that Archegos could liquidate its entire portfolio within one

month at 20% of ADV.

           F. Misrepresentations to CP6

       140.    In November 2020, CP6 had several discussions with Archegos about reducing

the risk profile of the portfolio it held at CP6. In connection with these discussions, CP6 sought



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additional information from Archegos, requested that Archegos transfer some of its more

concentrated positions to other Counterparties and replace them with more diversified holdings,

and asked Archegos to post more margin.

       141.     Tomita discussed CP6’s requests with Hwang, and Hwang directed Tomita to

inform CP6 that Archegos needed until year end before it could make any changes to the

portfolio.

       142.     Based on Hwang’s direction, Tomita embellished a story to CP6 that Archegos

was constrained from transferring its concentrated positions away from CP6 for tax reasons.

       143.     As Tomita knew, this was misleading. In truth, Archegos simply did not have

capacity at other Counterparties that would allow a transfer of concentrated positions, and in fact

Archegos was seeking to onboard new counterparties to be able to add even more exposure to the

same positions.

       144.       In addition, Tomita and Becker falsely represented to CP6 in a phone call that its

largest position comprised only 30% of its capital; in actuality, at the time of the call, Archegos’s

ViacomCBS position was 98% of its capital, and six of its single-name positions were in excess

of 40% of Archegos’s capital.

             G. Misrepresentations to CP7

       145.     CP7 onboarded Archegos as a new prime brokerage client in November 2020.

       146.     As CP7 was performing its due diligence and setting initial risk limits for the new

account, Tomita, at Hwang’s direction, misled CP7’s risk division into thinking that the stocks

Archegos intended to trade at CP7 would be new names to Archegos’s portfolio, not additional

exposure to existing names Archegos held elsewhere. In particular, at Hwang’s direction,




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Tomita provided CP 7 decoy names when discussing Archegos’s portfolio and investment

interests in order to conceal Archegos’s primary interest in GSX.

       147.    Later, in or around January 2021, during a call with Becker and Tomita, CP7’s

risk division raised its observation that other dealers were disclosed as top holders in GSX, and

asked if this was a result of Archegos trading GSX on SBSs with other Counterparties.

       148.    As he did in his conversation with CP4, Tomita claimed falsely that these

disclosed positions were likely the result of other entities trading in SBSs, and not Archegos.

The result of these statements was to give CP7 the misleading impression that Archegos was less

concentrated in GSX than it really was.

       149.    In advance of this January 2021 call with CP7, Halligan recommended to Becker

that Becker participate in calls Tomita was having with Counterparties concerning concentration

risk to make sure that any misleading information provided to Counterparties regarding

Archegos’s portfolio positions was consistent. Becker informed Halligan about the call with

CP7, including the misleading messaging conveyed regarding Archegos’s GSX positions, to

which Halligan replied, in sum or substance, “if they only knew.” Becker interpreted this

statement, a common refrain from Halligan, to mean that Halligan understood that Becker and

Tomita were providing false and/or misleading information to Counterparties concerning

Archegos’s portfolio positions, and that Archegos’s Counterparties would have taken risk-

mitigating countermeasures – including refusing to extend Archegos additional trading capacity

– had they known the truth. In this manner, Halligan intentionally or recklessly encouraged and

approved Becker to provide false and misleading information to Archegos’s counterparties,

including CP7.




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         150.   Additionally, on February 3, 2021, during a due diligence call with CP7’s risk

division, Becker provided false information about Archegos’s portfolio concentration, knowingly

misrepresenting that (1) Archegos’s largest position was only 35% of Archegos’s NAV (the

number previously provided by Halligan), when it was, in actuality, more than 65%, and (2)

Archegos’s top positions held at other Counterparties were more liquid than the names it held

with CP7.

            H. Misrepresentations to CP8

         151.   In or around December 2020 or January 2021, Becker participated in a due

diligence call with CP8, during which he made numerous representations about Archegos’s

concentration and liquidity that were materially false, including (1) that Archegos could liquidate

its positions in approximately two weeks, and (2) that its largest holding represented only 35% of

NAV.

         152.   Prior to making the statement, Becker specifically asked Halligan if he should use

the 35% figure, and Halligan told Becker to continue to use it even though they both knew it was

false.

         153.   Also, on March 24, 2021, in the wake of the price deterioration in positions

Archegos held at CP8, Becker held another call with CP8 personnel in which he again misled

CP8 materially concerning the extent of its liquidity concentrations, falsely claiming (again) that

Archegos’s top position size represented only 35% of NAV, and that Archegos could get out of

the entirety of its positions within four to five weeks.

         154.   In addition, Archegos obtained SBSs from CP8 pursuant to an ISDA Master

Agreement as amended and supplemented by other documents, including a Portfolio Swaps

Annex (“PSA”).



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       155.    In 2015, Archegos’s PSA included a representation that “on the date the parties

enter into any Transaction, the aggregate amount of all such Shares beneficially owned by it for

purposes of Section 13(d) of the Exchange Act, when combined with the notional amount of

Shares underlying any long derivative position, is less than 5% of the outstanding Shares.”

       156.    In December 2020, the PSA was amended to increase the percentage of

ownership to 20% of the outstanding shares.

       157.    Hwang signed the PSAs from both 2015 and 2020.

       158.    During the course of 2020, this ongoing representation was not true because

Archegos, when including underlying long derivative SBS positions, owned greater than 5% of

the outstanding shares of numerous issuers. As Hwang knew at the time he signed the December

2020 PSA amendment, Archegos’s combined exposure to several issuers far exceeded 20% of

those companies’ outstanding shares. Particularly given the importance of Archegos’s SBS

agreements to Archegos’s trading strategy, and Hwang’s broader scheme to manipulate the stock

price of Archegos’s Top 10 Holdings, Hwang knew or recklessly disregarded at the time he

signed the 2020 PSA amendment that the statement in paragraphs 155-156 above were false.

       159.    In addition, Hwang continued directing Archegos’s traders to add long SBS

positions with CP8 in Archegos’s most concentrated names, including, for example, GSX,

ViacomCBS, and Discovery Class A shares – despite his knowledge that Archegos’s cumulative

cash equity and derivative SBS positions in these names were well in excess of 20% of their

outstanding shares.




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 V.    Additional Misrepresentations Made During the Week of Archegos’s Collapse

        160. After market close on Monday, March 22, 2021, ViacomCBS – Archegos’s single

largest long position – announced a $3 billion secondary offering of its shares, precipitating an

approximately 10% drop in its share price the next trading day.

        161. Despite the market losses it faced that day, on March 23, Archegos, in an effort to

prop up stock prices and avoid additional margin calls, put on an additional approximately $2.6

billion in trading positions – mostly purchases of SBSs that added to its long exposures in its

most concentrated holdings.

        162. On March 23, Archegos saw its ending capital fall from $36.2 billion to $32.7

billion, and faced margin calls of $2.5 billion due the following day.

        163. Coupled with amounts due from its trading activity on March 23, Archegos had

virtually exhausted whatever cash reserves it had previously held by market open on March 24.

        164. Furthermore, during the trading day on March 24, Archegos’s most concentrated

positions saw their prices continue to decline precipitously. ViacomCBS announced that it had

priced its secondary offering of common stock at only $85 per share, well below the $100.34

closing price the day prior – triggering further losses not only in ViacomCBS’s stock, but also

the correlated shares in Discovery, another of Archegos’s concentrated positions.

        165. Compounding these declines, the announcement of the adoption of interim

amendments implementing the Holding Foreign Companies Accountable Act put pressure on the

price of American Depositary Receipts of China-based issuers, which comprised the balance of

Archegos’s concentrated positions.




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         166. With its cash reserves nearly depleted, Halligan, Becker, and Tomita grew

increasingly concerned about Archegos’s ability to meet its outstanding margin calls due that day

from the previous day’s market moves.

         167. In an effort to meet the margin calls, they reached out to CP5 and asked to call

back excess margin Archegos held there. In response to the request at around 2:00 pm on March

24, a credit officer from CP5 spoke with Becker by phone to ask why Archegos was calling back

its excess margin, especially in light of the day’s market movements and the likelihood that CP5

would issue a margin call to Archegos the following day.

         168. Becker explained that Archegos held more excess margin at CP5 than it did at its

other Counterparties, and the request was merely part of a rebalancing effort. He represented

that Archegos still had $9 billion in cash on hand, and that its withdrawal request was not the

result of a “distress situation” or a “liquidity issue.”

         169. These representations were false. Archegos at the time had virtually no cash left

on hand, which Becker knew.

         170. With Becker’s assurances, CP5 approved Archegos’s request and wired $248

million to Archegos that afternoon, enabling Archegos to meet the margin calls from its market

losses the previous day.

         171. As a result of market moves on March 24, however, by the end of that trading day

the value of Archegos’s capital declined to $16.9 billion – a one-day loss of 48%. Having

virtually exhausted all its excess cash, Archegos began informing its Counterparties that evening

that it would not be able to meet its anticipated margin calls of $10.7 billion the next day, and

attempted to work out a proposed course of action to attempt to satisfy its margin obligations.




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        172. Even during this period, Halligan and Becker continued to mislead Archegos’s

Counterparties.

        173. For instance, during a call they had with CP7 after market-close on March 24,

CP7 representatives asked for Archegos’s then-current capital levels in light of the day’s market

activities. Over a Bloomberg chat, Halligan instructed Becker to falsely represent that Archegos

still had about $20 billion in assets under management, a number both knew was materially

inflated and inaccurate given how closely they were reviewing assets under management

throughout that day.

        174. On or about March 24, 2021, Becker prepared talking points for his use in

responding to questions and concerns from Archegos’s Counterparties. This call script, which

was reviewed and approved by Halligan, contained numerous false and misleading statements,

including that Becker lacked access to Archegos’s trade blotter, to Archegos’s excess cash

balances, to Archegos’s live portfolio, and to information about the extent of margin calls

Archegos had received from other Counterparties. With Halligan’s understanding and approval,

Becker used these talking points and relayed these misrepresentations to Archegos’s

Counterparties during his discussions with them in an effort to prevent default notices from

issuing and/or the forced liquidation of Archegos’s portfolio.

        175. Archegos’s positions continued to deteriorate on Thursday, March 25. By the end

of that trading day, its capital had decreased to $9.2 billion, an additional 46% loss from the

previous day, triggering a spate of additional margin calls.

        176. After market close on March 25, Archegos worked with CP6 to execute a block

trade to obtain further liquidity to satisfy outstanding margin calls; the block’s discount further

added to Archegos’s losses.



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        177. Over the evening of March 25, Archegos organized a group call with its largest

Counterparties in an attempt to prevent a large scale liquidation that might exacerbate price

declines in its largest names. The talks persisted through Friday and into the weekend, but

ultimately proved fruitless.

        178. Its Counterparties ultimately delivered default notices and unwound Archegos’s

positions (including their hedge positions).

        179. Archegos’s failure led to over billions of dollars in Counterparty credit losses

across its various Counterparties.

                                 FIRST CLAIM FOR RELIEF
                        Violations of Section 17(a) of the Securities Act
                                (Hwang, Tomita, and Archegos)

        180. The SEC realleges and incorporates by reference here the allegations in

paragraphs 1 through 179.

        181. By engaging in the acts and conduct described in this Amended Complaint,

Defendants Hwang, Tomita, and Archegos, directly or indirectly, singly or in concert with

others, in the offer or sale of securities and by use of the means or instruments of transportation

or communication in interstate commerce or by use of the mails: (a) knowingly or recklessly

employed devices schemes, and artifices to defraud; (b) knowingly, recklessly, or negligently

obtained money or property by means of untrue statements of a material fact or omissions of a

material fact necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and/or (c) knowingly, recklessly, or negligently engaged

in transactions, practices, or courses of business which operated or would operate as a fraud or

deceit upon purchasers of such securities.




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        182. By reason of the foregoing, Defendants Hwang, Tomita, and Archegos, directly or

indirectly, singly or in concert, have violated and, unless enjoined, will again violate, Securities

Act Section 17(a) [15 U.S.C. § 77q(a)].

                               SECOND CLAIM FOR RELIEF
                    Violations of Section 17(a)(1) & (3) of the Securities Act
                                     (Halligan and Becker)

        183. The SEC realleges and incorporates by reference here the allegations in

paragraphs 1 through 179.

        184. By engaging in the acts and conduct described in this Amended Complaint,

Defendants Halligan and Becker, directly or indirectly, singly or in concert with others, in the

offer or sale of securities and by use of the means or instruments of transportation or

communication in interstate commerce or by use of the mails: (a) knowingly or recklessly

employed devices schemes, and artifices to defraud; and/or (b) knowingly, recklessly, or

negligently engaged in transactions, practices, or courses of business which operated or would

operate as a fraud or deceit upon purchasers of such securities.

        185. By reason of the foregoing, Defendants Halligan and Becker, directly or

indirectly, singly or in concert, have violated and, unless enjoined, will again violate, Securities

Act Sections 17(a)(1) and (3) [15 U.S.C. § 77q(a)(1) and (3)].

                               THIRD CLAIM FOR RELIEF
          Violations Section 10(b) of the Exchange Act and Rule 10b-5 Thereunder
                                       (All Defendants)

        186. The SEC realleges and incorporates by reference here the allegations in

paragraphs 1 through 179.

        187. By engaging in the acts and conduct described in this Amended Complaint,

Defendants, directly or indirectly, singly or in concert, in connection with the purchase or sale of

securities and by the use of the means or instrumentalities of interstate commerce, or the mails,
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or the facilities of a national securities exchange, knowingly or recklessly (1) employed one or

more devices, schemes, or artifices to defraud; (2) made one or more untrue statements of a

material fact or omitted to state one or more material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading;

and/or (3) engaged in one or more acts, practices, or courses of business which operated or

would operate as a fraud or deceit upon other persons.

        188. By reason of the foregoing, Defendants, directly or indirectly, singly or in concert,

have violated and, unless enjoined, will again violate Exchange Act Section 10(b) [15 U.S.C.

§ 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

                            FOURTH CLAIM FOR RELIEF
        Aiding and Abetting Violations of Section 17(a)(1) & (3) of the Securities Act
                                        (Halligan)

        189. The SEC realleges and incorporates by reference here the allegations in

paragraphs 1 through 179.

        190. By engaging in the acts and conduct described in this Amended Complaint,

Defendant Halligan, directly or indirectly, knowingly or recklessly provided substantial

assistance to Defendant Becker, who, directly or indirectly, singly or in concert with others, in

the offer or sale of securities and by use of the means or instruments of transportation or

communication in interstate commerce or by use of the mails: (a) knowingly or recklessly

employed devices schemes, and artifices to defraud; and/or (b) knowingly, recklessly, or

negligently engaged in transactions, practices, or courses of business which operated or would

operate as a fraud or deceit upon purchasers of such securities.

        191. By reason of the foregoing, Defendant Halligan is liable for aiding and abetting

Defendant Becker’s violations of Section 17(a)(1) and (3) of the Securities Act [15 U.S.C.



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§ 77q(a)(1) and (3)] pursuant to Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)] and,

unless enjoined, Defendant Halligan will again aid and abet violations of these provisions.

                              FIFTH CLAIM FOR RELIEF
          Aiding and Abetting Violations of Section 10(b) of the Exchange Act and
                                 Rule 10b-5 Thereunder
                                        (Halligan)

        192. The SEC realleges and incorporates by reference here the allegations in

paragraphs 1 through 179.

        193. By engaging in the acts and conduct described in this Amended Complaint,

Defendant Halligan, directly or indirectly, provided knowing and substantial assistance to

Defendant Becker, who, directly or indirectly, singly or in concert, in connection with the

purchase or sale of securities and by the use of the means or instrumentalities of interstate

commerce, or the mails, or the facilities of a national securities exchange, knowingly or

recklessly (1) employed one or more devices, schemes, or artifices to defraud; (2) made one or

more untrue statements of a material fact or omitted to state one or more material facts necessary

in order to make the statements made, in light of the circumstances under which they were made,

not misleading; and/or (3) engaged in one or more acts, practices, or courses of business which

operated or would operate as a fraud or deceit upon other persons.

        194. By reason of the foregoing, Defendant Halligan is liable for aiding and abetting

Defendant Becker’s violations of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and

Rule 10b-5 [17 C.F.R. § 240.10b-5] thereunder pursuant to Section 20(e) of the Exchange Act

[15 U.S.C. § 78t(e)] and, unless enjoined, Defendant Halligan will again aid and abet violations

of these provisions.




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                                 SIXTH CLAIM FOR RELIEF
                        Violations of Section 9(a)(2) of the Exchange Act
                                (Hwang, Tomita, and Archegos)

        195. The SEC realleges and incorporates by reference here the allegations in

paragraphs 1 through 179.

        196. By engaging in the acts and conduct described in this Amended Complaint,

Hwang, Tomita, and Archegos, directly or indirectly, by the use of the mails or means or

instrumentalities of interstate commerce, or of a facility of a national securities exchange,

effected, alone or with one or more other persons, a series of transactions in securities creating

actual or apparent active trading in such securities, or raising or depressing the prices of such

securities, for the purpose of inducing the purchase or sale of such securities by others.

        197.    By reason of the foregoing, Defendants Hwang, Tomita, and Archegos, directly

or indirectly, singly or in concert, have violated and, unless enjoined, will again violate

Exchange Act Section 9(a)(2) [15 U.S.C. § 78i(a)(2)].

                            SEVENTH CLAIM FOR RELIEF
   Control Person Liability under Section 20(a) of the Exchange Act for Archegos’s and
   Tomita’s Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Thereunder
                                          (Hwang)

        198. The SEC realleges and incorporates by reference here the allegations in

paragraphs 1 through 179.

        199. As alleged in the Third Claim for Relief above, Tomita and Archegos violated

Exchange Act Section 10(b) and Rule 10b-5 thereunder. By engaging in the acts and conduct

described in this Amended Complaint, Archegos and Tomita, directly or indirectly, singly or in

concert, in connection with the purchase or sale of securities and by the use of the means or

instrumentalities of interstate commerce, or the mails, or the facilities of a national securities

exchange, knowingly or recklessly (1) employed one or more devices, schemes, or artifices to


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defraud; (2) made one or more untrue statements of a material fact or omitted to state one or

more material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading; and/or (3) engaged in one or more acts, practices,

or courses of business which operated or would operate as a fraud or deceit upon other persons.

          200. At all relevant times, as Archegos’s owner, Hwang participated in, and exercised

control over, the operations of Archegos, and also possessed the power and ability to control the

acts constituting Archegos’s violations of the securities laws alleged herein.

          201. At all relevant times, as Tomita’s direct supervisor and employer, Hwang

participated in, and exercised control over, the conduct of Tomita, and also possessed the power

and ability to control the acts constituting Tomita’s violations of the securities laws alleged

herein.

          202. Hwang was a culpable participant in Tomita’s and Archegos’s violations of

Exchange Act Section 10(b) and Rule 10b-5 thereunder.

          203. By reason of the foregoing, Hwang, pursuant to Section 20(a) of the Exchange

Act [15 U.S.C. § 78t(a)], is jointly and severally liable with, and to the same extent as, Archegos

and Tomita for their violations of Exchange Act Section 10(b) and Rule 10b-5 thereunder, as

alleged herein

                                     PRAYER FOR RELIEF

          WHEREFORE, the SEC respectfully requests that the Court enter a Final Judgment:

                                                 I.

          Permanently enjoining Defendants and their agents, servants, employees, and attorneys

and all persons in active concert or participation with any of them from violating, directly or

indirectly, Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)], Section 10(b) of the



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Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5], and

Section 9(a)(2) of the Exchange Act [15 U.S.C. § 78i(a)(2)];

                                                 II.

       Ordering Defendants to disgorge all ill-gotten gains they received directly or indirectly,

with pre-judgment interest thereon, as a result of the alleged violations;

                                                III.

       Ordering Defendants to pay civil monetary penalties under Securities Act Section 20(d)

[15 U.S.C. § 77t(d)] and Exchange Act Section 21(d)(3) [15 U.S.C. § 78u(d)(3)];

                                                IV.

       Permanently prohibiting Defendants Hwang, Halligan, Tomita, and Becker from serving

as officers or directors of any company that has a class of securities registered under Exchange

Act Section 12 [15 U.S.C. § 78l] or that is required to file reports under Exchange Act Section

15(d) [15 U.S.C. § 78o(d)], pursuant to Securities Act Section 20(e) [15 U.S.C. § 77t(e)] and

Exchange Act Section 21(d)(2) [15 U.S.C. § 78u(d)(2)]; and




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                                              V.

      Granting any other and further relief that may be appropriate and necessary.

                                      JURY DEMAND

      The SEC demands a trial by jury.


Dated: New York, New York
       August 26, 2022
                                           Respectfully submitted,




                                           ___________________________________
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